          Case 1:23-cv-08673-FB-JRC Document 5 Filed 11/27/23 Page 1 of 4 PageID #: 25

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                   JOAQUIN CAPEHART,                                 )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 23-cv-8673 FB-JRC
                                                                     )
              ASTORIA PROVISIONS, LLC                                )
            and CORNER BUILDING CORP.,                               )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) ASTORIA PROVISIONS, LLC
                                           C/O LOCALE RESTAURANT ACQUISITION, LLC
                                           33-02 34TH AVENUE
                                           ASTORIA, NY, 10006




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Andre Autz, Esq.
                                           Nacmias Law Firm, PLLC
                                           592 Pacific Street, 1st Floor
                                           Brooklyn, New York 11217
                                           Email: aautz@nacmiaslaw.com


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               Brenna Mahoney
                                                                              CLERK OF COURT


            11/27/2023                                                          s/Kimberly Davis
Date:
                                                                                          Signature of Clerk or Deputy Clerk
           Case 1:23-cv-08673-FB-JRC Document 5 Filed 11/27/23 Page 2 of 4 PageID #: 26

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
          Case 1:23-cv-08673-FB-JRC Document 5 Filed 11/27/23 Page 3 of 4 PageID #: 27

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                   JOAQUIN CAPEHART,                                 )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 23-cv-8673 FB-JRC
                                                                     )
              ASTORIA PROVISIONS, LLC                                )
            and CORNER BUILDING CORP.,                               )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) CORNER BUILDING CORP.
                                           PO BOX 5797
                                           ASTORIA, NY, 11103




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Andre Autz, Esq.
                                           Nacmias Law Firm, PLLC
                                           592 Pacific Street, 1st Floor
                                           Brooklyn, New York 11217
                                           Email: aautz@nacmiaslaw.com


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.
                                                                              Brenna Mahoney

                                                                              CLERK OF COURT

           11/27/2023                                                          s/Kimberly Davis
Date:
                                                                                          Signature of Clerk or Deputy Clerk
           Case 1:23-cv-08673-FB-JRC Document 5 Filed 11/27/23 Page 4 of 4 PageID #: 28

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
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                                                                                on (date)                             ; or

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                                                                 , a person of suitable age and discretion who resides there,
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            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
